 1   DEVIN DERHAM-BURK #104353
     CHAPTER 13 STANDING TRUSTEE
 2   P O Box 50013
     San Jose, CA 95150-0013
 3
     Telephone: (408) 354-4413
 4   Facsimile: (408) 354-5513
 5   Trustee for Debtor(s)
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 7
 8                            UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF CALIFORNIA - DIVISION 5
 9
10   In re:                                       )   Chapter 13
                                                  )   Case No. 18-51575 MEH
11   ROBLES, GLORIA CABRAL                        )
                                                  )   FIRST AMENDED
12                                                )   TRUSTEE’S OBJECTION TO
                                                  )   CONFIRMATION WITH CERTIFICATE OF
13                                                )   SERVICE
                                                  )
14                                                )   Continued 341 Meeting Date and Time: October
                                                  )   22, 2018 @ 11:30 AM
15                                                )
                                                  )   Judge: M. Elaine Hammond
16                                                )
                                                  )
17                     Debtor(s)                  )
18
19   Devin Derham-Burk, Trustee in the above matter, objects to the Confirmation of this Plan for the
20   following reasons:
21
22       1. The Debtor has failed to comply with Northern District of California General Order 34
23            which requires the use of Form NDC 1-1, the standard form chapter 13 plan required for

24            all cases filed or converted to chapter 13 on or after December 1, 2017. Because the

25            Debtor has failed to use the mandatory form plan, the Trustee cannot properly analyze the

26            petition and schedules and may not be able to fully examine the debtor at the 11 U.S.C.

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                                                                        Trustee's Obj to Confirmation 18-51575 MEH

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 1         §341(a) meeting of creditors. The Trustee requests that the Debtor immediately file the
 2         appropriate plan and serve it on all creditors.
 3
 4      2. The Debtor has not provided the Trustee with pay advices required by General Order 32
 5         and/or with federal and state income tax returns (and W-2’s if applicable) required to be
 6         filed for the most recent tax year ending before the commencement of the case. Because
 7         these documents have not been provided, the Trustee cannot perform the analysis needed
 8         in order to determine whether the tests for confirmation in 11 U.S.C. §1325 (a) and (b)
 9         are met. Until these documents are provided, the case will not be analyzed.
10
11      3. In order to assist the Trustee in determining whether the disposable income test in 11
12         U.S.C. §1325(b)(1)(B) and/or the feasibility test in 11 U.S.C. §1325(a)(6) is met, the
13         Trustee requests that the Debtor provide her with a copy of each federal and state income
14         tax return and W-2 form required under applicable law with respect to each tax year of
15         the Debtor’s ending while the case is pending confirmation. The tax return shall be
16         provided to her at the same time it is filed with the taxing authority.
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20   Dated: October 17, 2018                                 /S/ Devin Derham-Burk
                                                             ____________________________________
21                                                           Chapter 13 Trustee
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                                                                         Trustee's Obj to Confirmation 18-51575 MEH

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 1                            CERTIFICATE OF SERVICE BY MAIL
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 3          I declare that I am over the age of 18 years, not a party to the within case; my business
 4   address is 983 University Ave. C-100, Los Gatos, California 95032. I served a copy of the within
 5   Trustee’s First Amended Objection to Confirmation by placing same in an envelope in the U.S.
 6   Mail at Los Gatos, California on October 17, 2018.
 7          Said envelopes were addressed as follows:
 8
 9              Gloria Cabral Robles                             Litigation Law Group
                   3474 Gila Dr                                 111 N Market St #1010
10              San Jose, CA 95148                                San Jose, CA 95113
11
12
13
14
                                                 /S/ Mary Lou Amaral
15                                               Office of Devin Derham-Burk, Trustee
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                                                                      Trustee's Obj to Confirmation 18-51575 MEH

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